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     Pro Se
 5
                             UNITED STATES DISTRICT COURT
 6                               DISTRICT OF ARIZONA
 7
                                                         Case No: 2:18-cv-00697-DLR
 8
 9   Fernando Gastelum,                                     NOTICE OF PLAINTIFF’S
                                                            CONTACT INFORMATION
10                                          Plaintiff,
11
12                         vs.

13   Tempe Town Lake Inn LLC,
14
                                        Defendant.
15
16          Please take notice that Plaintiff’s pro se information is this:
17
                             Fernando Gastelum
18                           209 West 9th Street
                           Casa Grande, AZ 85122
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                               520-560-0927
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                                   Pro Se
21
            RESPECTFULLY SUBMITTED this 5th day of September 2018.
22
                                         Fernando Gastelum
23
24
25
     Electronically filed by Mr. Strojnik
26
27
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